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AO 245B (Rev. 09/19) Judgment in a Criminal Case
Sheet |

UNITED STATES DISTRICT COURT

District of Columbia

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE

Vv.
JENNIFER LEIGH RYAN Case Number: 21-CR-50-1 (CRC)
USM Number: 25912-509

Guy L. Womack

Defendant's Atiorney

THE DEFENDANT:

Wi pleaded guilty to count(s) _4ss of the Superseding Information filed on 6/7/2021.

C pleaded nolo contendere to count(s)
which was accepted by the court.

 

CD was found guilty on count(s)
after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section Nature of Offense Offense Ended Count
40 U.S.C. § 5104(e) Parading, Demonstrating, or Picketing in a Capitol Building 1/6/2021 4ss
(2)(G)

The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is imposed pursuant to

the Sentencing Reform Act of 1984.
C) The defendant has been found not guilty on count(s)

 

¥iCount(s)  1ss-3ss Ol is Mare dismissed on the motion of the United States.

.,._ It is ordered that the defendant must notify the United States attorney for this district within 30 days of any ung of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

 

 

11/4/2021
Date oe 4 4
Signature of Judge — : i?

Christopher R. Cooper, U.S. District Court Judge
Name and Title. of Judge

LtL1eL 21

Date
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AO 2458 (Rev. 09/19) Judgment in Criminal Case
Sheet 2 — Imprisonment

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DEFENDANT: JENNIFER LEIGH RYAN

CASE NUMBER: 21-CR-50-1 (CRC)

IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
total term of:

Sixty (60) days with no term of supervised release to follow.

W The court makes the following recommendations to the Bureau of Prisons:

A BOP facility near the Defendant's home in Texas.

(C) The defendant is remanded to the custody of the United States Marshal.

(J The defendant shall surrender to the United States Marshal for this district:
0 at O am. © pm. on
Cas notified by the United States Marshal.

 

WM The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

1 before 2 p.m. on

 

O as notified by the United States Marshal.

as notified by the Probation or Pretrial Services Office on a date after January 3, 2022.

 

 

 

 

RETURN
[ have executed this judgment as follows:
Defendant delivered on to
at , with a certified copy of this judgment.
UNITED STATES MARSHAL
By

 

DEPUTY UNITED STATES MARSHAL
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AO 245B (Rev. 09/19) Judgment ina Criminal Case
; Sheet § — Criminal Monetary Pennities

DEFENDANT: JENNIFER LEIGH RYAN
CASE NUMBER: 21-CR-50-1 (CRC)

CRIMINAL MONETARY PENALTIES

 

Judgment — Page 3 of 5

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Restitution Fine AVAA Assessment* JVTA Assessment**
TOTALS $..10.00 $ 500.00 $ 1,000.00 $ §
1) The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C) will be

entered after such determination.

W The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximate rtioned payment, unless specified otherwise In

ropo
the priority order or percentage payment column below However, pursuant to BU Sc. § 3664(i), all nonfederal victims must be paid
before the United States is paid.

 

Name of Payee Total Loss*** Restitution Ordered Priority or Percentage
Architect of the Capitol $500.00 $500.00

Office of the Chief Financial Officer
Attn.: Kathy Sherrill, CPA

Ford House Office Building

Room H2-205B

Washington, DC 20515

TOTALS $ 500.00 § 500.00

[) Restitution amount ordered pursuant to plea agreement $

C) The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the

fifteenth day after the date of the judgment, pursuant to [8 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g). |

W) The court determined that the defendant does not have the ability to pay interest and it is ordered that:
WV the interest requirement is waived forthe fine & restitution.

OO the interest requirement forthe (J fine (0 restitution is modified as follows:

* Amy, Vicky, and Andy Child Pomopraph Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No, 114-22

*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 1996.
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AO 24513 (Rev. 09/19) Judgment ina Criminal Case
Sheet 6 — Schedule of Payments

. Judgitient — Page 4 of 5
DEFENDANT: JENNIFER LEIGH RYAN

CASE NUMBER: 21-CR-50-1 (CRC)

SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A & Lumpsum paymentof$ 10.00 due immediately, balance due

Cl not later than , or
Yi inaccordancewith O C, OF D, ( E,or & F below; or

B ( Payment to begin immediately (may be combined with OC, OD,or CIF below); or

C (Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or
D ( Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a

term of supervision; or

E (2 Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 

F % Special instructions regarding the payment of criminal monetary penalties: ;
The special assessment ($10) is Immediately payable to the Clerk of the Court for the U.S. District Court, 333
Constitution Ave NW, Washington, DC 20001. The fine ($1,000) is due within 90 days and Is also payable to the
Clerk of the Court for the U.S. District Court, at the provided address. Within 30 days of any change of address,
you shall notify the Clerk of the Court of the change until such time as the financial obligation is paid in full.

Unless the court has expressly ordered otherwise, iis higemnent imposes imprisonment, payment of criminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

O Joint and Several

Case Number

Defendant and Co-Defendant Names Joint and Several Corresponding Payee,
fincluding defendant number) Total Amount Amount if appropriate

(J The defendant shall pay the cost of prosecution.

O

The defendant shall pay the following court cost(s):

(The defendant shall forfeit the defendant's interest in the following property to the United States:

Payments shall be erie in the following order: (1) assessment, @) restitution principal, (3) restitution interest, (4) AVAA assessment,

(5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of
prosecution and court costs.
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AO 245B (Rev, 09/19) Judgment in a Criminal Case
Sheet 7 — Denial of Federal Benefits

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DEFENDANT: JENNIFER LEIGH RYAN
CASE NUMBER: 21-CR-50-1 (CRC)

DENIAL OF FEDERAL BENEFITS
(For Offenses Committed On or After November 18, 1988)

FOR DRUG TRAFFICKERS PURSUANT TO 21 U.S.C. § 862(a)
IT IS ORDERED that the defendant shall be:

ineligible for all federal benefits for a period of

 

ineligible for the following federal benefits for a period of
(specify beneftt(s))

OR

(Having determined that this is the defendant's third or subsequent conviction for distribution of controlled substances, IT IS
ORDERED that the defendant shall be permanently ineligible for all federal benefits.

FOR DRUG POSSESSORS PURSUANT TO 21 U.S.C. § 862(b)

IT IS ORDERED that the defendant shall:

(0 be ineligible for all federal benefits for a period of

(be ineligible for the following federal benefits for a period of

 

(specify benefit(s))

successfully complete a drug testing and treatment program.
perform community service, as specified in the probation and supervised release portion of this judgment.

Having determined that this is the defendant’s second or subsequent conviction for possession of a controlled substance, !T

IS FURTHER ORDERED that the defendant shall complete any drug treatment program and community service specified in this
judgment as a requirement for the reinstatement of eligibility for federal benefits.

Pursuant to 21 U.S.C. § 862(d), this denial of federal benefits does not include any retirement, welfare, Social Security, health
asap Veterans benefit, public housing, or other similar benefit, or any other benefit for which payments or services are required
for eligi hhity. The clerk of court is responsible for sending a copy of this page and the first page of this judgment to:

U.S. Department of Justice, Office of Justice Programs, Washington, DC 20531
